                                            EXHIBIT 1                                                            FILED
                                                                                                        2016 Jul-08 PM 05:14
                                                                                                       U.S. DISTRICT COURT
                                                                                                           N.D. OF ALABAMA




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                                               June 28, 2016



VIA E-MAIL GDEVANS@EVANSLAWPC.COM
VIA U.S. MAIL

Mr. G. Daniel Evans
The Evans Law Firm P.C.
1736 Oxmoor Road, Suite 101
Birmingham, Alabama 35209

       Re:      Gina Kay Ray, et al. v. JCS, et al. U.S. District Court, Case No.:2:12-cv-2819

Dear Mr. Evans:

        This is to confirm the current status of the non-party discovery in Ray, et al. v. JCS, et al.
following the June 27, 2016 meeting between Plaintiffs’ Counsel and Counsel for the non-party
subpoena recipients.

        Although you did not reduce the total number of individuals about whom you are requesting
information, you withdrew your June 17, 2016 discovery request, and are now requesting the
following:

             Electronically stored information from each city that shows:

             1) if a warrant for each person listed in Exhibit 1 to the original subpoena was issued by
                the Municipal Court. If a warrant was issued then;

             2) information showing whether that person was arrested; and

             3) how many days that person spent in jail.

       Additionally, you limited your request to incidents occurring after August 28, 2010.

        You are not seeking any paper records, and do not require municipalities or municipal courts
to convert paper records to electronic records. You refused to reduce the number of persons on the
list and did not make any agreement to pay for costs.

       Counsel for cities will speak to their respective I.T. staff and will ask the following questions:

             1) Is it possible to pull the electronic data requested by Plaintiffs’ Counsel?
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            2) If so, then what are the logistical steps required to pull the data?

            3) How much of the requested information is kept on paper records?

            4) How much will it cost to hire an outside contractor to pull the data?

       Additionally, the cities will consult with their I.T. staff to determine whether it is necessary
and/or productive to contact Plaintiffs’ I.T. specialists regarding these discovery requests.

         Nothing in this letter is meant to waive any objections about the Ray Plaintiffs’ discovery, nor is
it meant to be a commitment to provide electronic records not reasonably related to a valid class
definition.



                                               Best regards,



                                               Christopher K. Friedman

CKF:pc



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